     8:18-cr-00484-DCC      Date Filed 02/18/19    Entry Number 57     Page 1 of 14




              IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE DISTRICT OF SOUTH CAROLINA
                          GREENWOOD DIVISION

 UNITED STATES OF AMERICA,                )            CR. NO. 8:18CR00484
                                          )
                   vs.                    )       SENTENCING MEMORANDUM
                                          )
 ANTHONY DANTE HOLLOWAY                   )
                                          )

      Now comes the defendant, Anthony Dante Holloway, (Holloway) by and

through his attorney, and respectfully provides this sentencing memorandum in

support of his objection to the classification of his prior conviction under South

Carolina Code Section 44-53-370 as a “controlled substance offense” as defined in

the United States Sentencing Commission Guidelines Manual (USSG) Section

4B1.2(b).

      Holloway has been previously convicted of one violation of South Carolina

Code Section 44-53-370. See Presentence Investigation Report (PSR) ¶32. Holloway

has filed an objection to the classification of this offense as a “controlled substance

offense” under the Guidelines. According to the PSR, this prior conviction increases

Holloway’s base offense level for count one under USSG § 2K2.1(a) from 14 to 20,

resulting in an applicable guidelines range of 51 to 63 months for counts one and

two and a combined guidelines range of 111 to 123 months for all three counts. See

PSR ¶¶48, 81. If Holloway’s prior conviction under S.C. Code §44-53-370 does not

satisfy the guidelines definition of “controlled substance offense,” his total offense

level would be 16 and his guideline imprisonment range would be 27 to 33 months
                                         1
    8:18-cr-00484-DCC      Date Filed 02/18/19   Entry Number 57     Page 2 of 14




on counts one and two, plus a consecutive 60 months on count three, for a total of 87

to 93 months’ imprisonment.

      The addendum to the PSR states that Holloway’s prior South Carolina drug

conviction is a qualifying predicate offense under the Guidelines. This conclusion is

based on a determination that the South Carolina offense in question, S.C. Code

§44-53-370, is divisible and subject to the modified categorical approach. For the

reasons articulated below, Holloway respectfully disagrees as to the divisibility of

the South Carolina statute and asserts that this Court should not rely on the

sentencing sheet as a Shepard document.



      I.     South Carolina Code Section 44-53-370 is Indivisible

      The Fourth Circuit has recently determined in three cases that South

Carolina drug statutes are divisible. However, these opinions - Rhodes 1, Marshall 2,

and Sultan 3 – are unpublished and ignore South Carolina law. In Rhodes,

moreover, the panel assumed, without analysis, that the statute was divisible.

      Courts analyze whether a prior conviction qualifies as a predicate offense by

applying the “categorical approach,” as that term is described in and applied by the

Supreme Court in Taylor v. United States, 495 U.S. 575 (1990), Descamps v. United

States, 570 U.S. 254 (2013), and Mathis v. United States, 579 U.S. ___, 136 S. Ct.


1 United States v. Rhodes, 736 F. App’x 375 (4th Cir. 2018)
2 United States v. Marshall, ___ F. App’x ___, 2018 WL 4150855 (4th Cir. Aug.
29, 2018)
3 United States v. Sulton, ___ F. App’x ___, 2018 WL 5096069 (4th Cir. Oct.
18, 2018)
                                          2
     8:18-cr-00484-DCC      Date Filed 02/18/19   Entry Number 57     Page 3 of 14




2243 (2016). Under the categorical approach, a court considers only the elements of

the offense of conviction, not the defendant’s underlying conduct. If the offense of

conviction has the same as or narrower elements than a “controlled substance

offense,” then the offense of conviction is a qualifying predicate conviction for

application of the relevant sentencing enhancement. However, if the prior offense of

conviction “sweeps more broadly and criminalizes more conduct” than a controlled

substance offense, then the prior offense of conviction is not a qualifying conviction

“even if the defendant actually committed that offense in its generic form.”

Omargharib v. Holder, 775 F.3d 192, 196 (4th Cir. 2014) (quoting Descamps, 570

U.S. at 261).

      The modified categorical approach “has no role to play” if the offense of

conviction is an indivisible offense. Descamps, 570 at 264. The Supreme Court has

emphasized that “sentencing courts may not apply the modified categorical

approach when the crime of which the defendant was convicted has a single,

indivisible set of elements.” Id. at 258. When a defendant has been convicted of an

indivisible statute, “[w]hatever the underlying facts or the evidence presented, the

defendant still would not have been convicted, in the deliberate and considered way

the Constitution guarantees, of an offense with the same (or narrower) elements as

the supposed generic offense…” Id. at 273.

      In Mathis, the Supreme Court re-emphasized that a court must determine

whether a seemingly divisible statute lists separate elements or rather different

means of accomplishing a single element. See Mathis, 236 S. Ct. at 2249 (“This case
                                        3
     8:18-cr-00484-DCC       Date Filed 02/18/19   Entry Number 57     Page 4 of 14




concerns a different kind of alternatively phrased law: not one that lists multiple

elements disjunctively, but instead one that enumerates various factual means of

committing a single element.”). The Court stressed that courts may not apply the

modified categorical approach when the statute lists “diverse means of satisfying a

single element of a single crime – or otherwise said, spells out various factual

means of committing some component of the offense.” Id. If the alternatives are

means, the court has “no call to decide which of the statutory alternatives was at

issue in the earlier prosecution.” Id. at 2256.

      If there is a question about the divisibility of the statute at issue, there is a

limited class of documents which this Court should consult in determining whether

an offense is divisible. In cases such as Holloway’s (involving guilty pleas), the

Court should “consider how South Carolina prosecutors charge the offenses, the

elements on which South Carolina juries are instructed, and the manner in which

South Carolina courts treat convictions under these statutes.” Marshall, 2018 WL

4150855 at *8 (citing Mathis, 136 S. Ct. at 2256-57).

      First, a review of the statute itself can help determine if the alternatives are

means or elements. Mathis, 136 S. Ct. at 2256.     If statutory alternatives carry

different punishments, then under Apprendi v. New Jersey, 530 U.S. 466 (2000),

they must be elements. Id.

      Second, the Supreme Court has instructed that reviewing the underlying

indictment may shed light on whether a statute contains several offenses with

alternative elements or merely lists alternative ways of committing a single crime.
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     8:18-cr-00484-DCC     Date Filed 02/18/19   Entry Number 57     Page 5 of 14




This is confirmed in Descamps: a “prosecutor charging a violation of a divisible

statute must generally select the relevant element from its list of alternatives.”

Descamps, 570 U.S. at 272. “‘[A]n indictment or criminal information which charges

the person accused, in the disjunctive, with being guilty of one or another of several

offences [sic], would be destitute of the necessary certainty, and would be wholly

insufficient.’” Id. (quoting The Confiscation Cases, 20 Wall. 92, 104, 22 L.Ed. 320

(1874)).

      Finally, a review of applicable jury instructions can also be helpful to

determine if the statutory alternatives are means or elements. Mathis, 136 S. Ct. at

2256. “[F]or example,…[if] one count of an indictment and correlative jury

instructions charge a defendant with burgling a ‘building, structure, or vehicle’ –

thus reiterating all the terms of…the state’s law…[then] that is as clear an

indication as any that each alternative is only a possible means of commission, not

an element that the prosecutor must prove to a jury beyond a reasonable doubt.”

Id., 136 S. Ct. at 2257. “Conversely, an indictment and jury instructions could

indicate, by referencing one alternative term to the exclusion of all others, that the

statute contains a list of elements, each one of which goes toward a separate crime.”

Id. See also United States v. Royal, 731 F.3d 333, 341 (4th Cir. 2013) (jury

instructions instructive to show whether statute has separate elements or merely

offers alternative means by which crime can be committed; instructions will make

clear whether or not each listed factor is a separate element that must be found

beyond a reasonable doubt).
                                           5
     8:18-cr-00484-DCC       Date Filed 02/18/19   Entry Number 57    Page 6 of 14




         Federal courts have no “authority to place a construction on a state statute

different from the one rendered by the highest court of the State.” Johnson v.

Fankell, 520 U.S. 911, 916 (1997). Rather, “[t]o the extent that the statutory

definition of the prior offense has been interpreted by the state’s highest court, that

interpretation constrains [a federal court’s] analysis of the elements of state law.”

United States v. Aparicio-Soria, 740 F.3d 152, 154 (4th Cir. 2014). See also United

States v. Shell, 789 F.3d 335, 339 (4th Cir. 2015) (courts look to state statute and

“the state precedent construing it.”). “Where the state’s highest court has not

decided an issue of state law, the federal courts defer to the state intermediate

appellate court decisions, unless…convinced that the state supreme court would

rule to the contrary.” United States v. Vann, 660 F.3d 771, 777 (4th Cir. 2011) (en

banc).

         South Carolina drug statutes are not divisible. A review of the statutes

themselves reveals that all of the ways in which the statute may be violated are

listed in single subsections. See Mathis, 136 S. Ct. at 2256. For example, under

South Carolina Code §44-53-370, any conviction when a person “manufactures,

distributes, dispenses, delivers, purchases, or otherwise aids, abets, attempts, or

conspires to manufacture, distribute, dispense, deliver, or purchase, or possesses

with intent to distribute, dispense, or deliver” is subject to the same penalty. See

S.C. Code Ann. § 44-53-370(b)(1) - (3).

         An indictment under South Carolina Code Section 44-53-370, -375, or -445,

which lists all the statutory means of committing a drug offense, is not an anomaly
                                          6
     8:18-cr-00484-DCC       Date Filed 02/18/19   Entry Number 57    Page 7 of 14




in South Carolina drug indictments. For example, in the conviction in Rhodes, the

defendant’s indictment listed all the potential ways of violating the statute, S.C.

Code §44-53-445. Rhodes, 736 F. App’x at 380. Likewise, the defendant in Marshall

was charged with two violations of S.C. Code §44-53-445 and one violation of S.C.

Code §44-53-370 in indictments which listed all the alternative ways of committing

the offense. See Reply Br., United States v. Marshall, No. 16-4594, at 15 (4th Cir.

Apr. 3, 2017), ECF No. 42.

       In its recent rulings, the Fourth Circuit has studiously ignored that the

South Carolina Supreme Court has repeatedly held that the various ways of

committing South Carolina drug offenses are means, not elements. The South

Carolina Supreme Court, in evaluating the similar drug trafficking statute located

at S.C. Code Ann. §44-53-370(e)(2), found that listed alternatives were means, not

elements: In State v. Raffaldt, 456 S.E.2d 390, 394 (S.C. 1995), the South Carolina

Supreme Court held that trafficking may be accomplished by a variety of criminal

acts, to wit:

          -knowingly selling, manufacturing, cultivating, delivering,
          purchasing, or bringing ten grams or more of cocaine (or any
          mixtures containing cocaine) into this State; or
          -providing financial assistance or otherwise aiding, abetting,
          attempting; or
          -conspiring to sell, manufacture, cultivate, deliver, purchase, or
          bring ten grams or more of cocaine (or any mixtures containing
          cocaine) into this State; or
          -knowingly having actual or constructive possession or knowingly
          attempting to become in actual or constructive possession of ten
          grams or more of cocaine (or any mixtures containing cocaine).

                                           7
     8:18-cr-00484-DCC     Date Filed 02/18/19   Entry Number 57     Page 8 of 14




         It is the amount of cocaine, rather than the criminal act, which
         triggers the trafficking statute, and distinguishes trafficking from
         distribution and simple possession.



(Emphases added). In other words, South Carolina’s highest state court has

explicitly held that trafficking, and similarly-worded drug statutes, list alternative

means by which a drug crime can be committed in South Carolina, not separate

elements. See also State v. Harden, 602 S.E.2d 48, 50 (S.C. 2004) (noting that drug

trafficking “may be accomplished by several means, including conspiracy.”)

(emphasis added); State v. Gordon, 2004 WL 6396012 at *2 (S.C. 2004)

(unpublished) (noting that “[a]s defined in [S.C. Code Ann. §44-53-375(c)], there is

no distinction between conspiracy to traffic and the substantive offense of

trafficking in crack cocaine; in other words, the statute incorporates conspiracy as

one of a number of ways the substantive offense may be committed.”) (emphasis

added); id. (“Conspiracy to traffic in crack cocaine is encompassed in the indictment

under which respondent was charged, as one way to traffic in crack cocaine.”).

      For example, in Cutner v. State, 580 S.E.2d 120 (S.C. 2003), overruled on

other grounds by State v. Gentry, 610 S.E.2d 494 (S.C. 2005), Cutner was charged in

a single-count indictment that alleged the defendant “did…distribute, sell,

purchase, manufacture, or unlawfully possess with intent to distribute, a controlled

substance, to wit: marijuana, while in, on, or within a one-half mile radius of the

grounds of a public or private elementary, middle or secondary school…to wit:

Ridgewood Missionary Baptist Church.” The South Carolina Supreme Court held
                                           8
     8:18-cr-00484-DCC     Date Filed 02/18/19    Entry Number 57     Page 9 of 14




this indictment under S.C. Code Ann. §44-53-445 fatally defective not because it

charged numerous elements of separate offenses in an indictment, but rather

because the indictment failed to charge “distributing marijuana within proximity of

a school” when it charged “distributing marijuana within proximity of a church…”

580 S.E.2d at 123.

      The manner in which South Carolina indictments charge drug offenses has

significant constitutional implications. Descamps, 570 U.S. at 272. “An indictment

meets the guarantees of the Fifth and Sixth Amendments ‘if it, first, contains the

elements of the offense charged and fairly informs a defendant of the charge against

which he must defend, and, second, enables him to plead an acquittal or conviction

in bar of future prosecutions for the same offense.’” United States v. Wicks, 187 F.3d

426, 427 (4th Cir. 1999) (quoting Hamling v. United States, 418 U.S. 87, 117 (1974)).

South Carolina courts, like federal courts, recognize, as they must, that it is

unconstitutional to fail to put the defendant on notice of the charges against him,

including the elements the state must prove and the particular offense charged, so

the defendant knows how to defend himself. See Russell v. United States, 249 U.S.

769 (1962); State v. Samuels, 743 S.E.2d 773, 776 (S.C. 2013) (citation omitted). “In

an indictment upon a statute, it is not sufficient to set forth the offence in the words

of the statute, unless those words of themselves fully, directly, and expressly,

without any uncertainty or ambiguity, set forth all the elements necessary to

constitute the offence intended to be punished.” Russell, 349 U.S. at 1047-48

(quoting United States v. Carll, 105 U.S. 611, 612 (1881)). “[A]n indictment is
                                          9
    8:18-cr-00484-DCC       Date Filed 02/18/19    Entry Number 57      Page 10 of 14




defective and entitled a defendant to relief if it is duplicitous, providing it results in

prejudice to the defendant.” Samuels, 743 S.E.2d at 774.

       If the statute is divisible, the State’s practice of “joining in a single count of

two or more distinct and separate offenses[ ]” would be duplicitous. United States v.

Burns, 990 F.2d 1426, 1438 (4th Cir. 1993) (internal quotation marks and citation

omitted). The dangers of a duplicitous indictment include a jury confusing the two

offenses and convicting based on both offenses; improper notice to the defendant;

prejudice in evidentiary rulings; limiting appellate review; exposure to double

jeopardy; and the risk that a conviction will occur based on less than a unanimous

verdict on each count. United States v. Kamalu, 298 F. App’x 251, 254 (4th Cir. 2008

(unpublished) (citation omitted). On the other hand, an indictment would not be

duplicitous if it includes multiple ways of committing a single offense in one count.

United States v. Robinson, 855 F.3d 265, 270 (4th Cir. 2017).

       South Carolina also holds that a duplicitous indictment is defective, entitling

a defendant who is subject to duplicitousness to relief. Samuels, 743 S.E.2d at 774.

If South Carolina drug indictments, which frequently cite the drug statutes

verbatim, are, in fact, charging multiple offenses in a single count, which are the

conclusions reached in Marshall and Sultan based on the alleged divisibility of the

South Carolina drug statutes at issue in those cases, then South Carolina drug

defendants have been unconstitutionally convicted of drug offenses for years.

Given South Carolina’s position that a defendant convicted under a duplicitous

indictment is entitled to relief, and that a defendant has a right to be put on notice
                                            10
    8:18-cr-00484-DCC       Date Filed 02/18/19    Entry Number 57      Page 11 of 14




of the charges against him, it is simply untenable to believe that South Carolina

courts take the position that its drug statutes encompass numerous separate

offenses with different elements. Samuels, 743 S.E.2d at 774 (“an indictment is

defective and entitles a defendant to relief if it is duplicitous, providing it results in

prejudice to the defendant.”). If S.C. Code §§44-53-370, -375, and -445 consist of

numerous different crimes, then countless individuals have been unconstitutionally

convicted by the State.

       In sum, the statutes at issue, drug indictments in South Carolina, and the

case law in South Carolina make it clear that S.C. Code §§44-53-370, -375, and -445

are indivisible statutes. The categorical analysis requires that the state statute

prohibit conduct which is necessarily the same or narrower than that defined as

“controlled substance offenses” under the Guidelines. As such, Holloway’s South

Carolina drug convictions under S.C. Code § 44-53-370 are not categorically

“controlled substance offenses” under the Guidelines.



       II.    Sentencing Sheets are Not Shepard-approved Materials

       A South Carolina sentencing sheet, as evidenced by the one provided in this

case, contains three pieces of information related to an offense: (1) the statute under

which a defendant is charged and convicted; (2) a clerk’s descriptive name of the

statute; and (3) a CDR code. 4 South Carolina law is clear that the statute listed on


4 The CDR code is a relic from days when computers had such limited memory
they were unable to store references to specific statutes with multiple
                                            11
    8:18-cr-00484-DCC      Date Filed 02/18/19   Entry Number 57     Page 12 of 14




the sentencing sheet, not the other items, is the final word on what the defendant’s

crime of conviction is.

      In State v. Bennett, a CDR code was incorrectly entered on a South Carolina

sentencing sheet. 650 S.E.2d 490, 495 (S.C. Ct. App. 2007). Because the sentencing

sheet was ambiguous, the question was whether the statute or the CDR Code listed

on Bennett’s sentencing sheet controlled. The Court of Appeals held that “[b]ecause

the South Carolina Code of Laws is the controlling authority for classifications,

definitions, and penalties for criminal offenses, a statute listed on a sentencing

sheet, and not a CDR code, will dictate a criminal’s sentence.” 650 S.E.2d at 495.

Therefore, under South Carolina law, it is the statute listed on the sentencing sheet

which controls all interpretation of the offense. Accordingly, a South Carolina

sentencing sheet, such as the one related to Holloway’s prior conviction, offers no

Shepard-approved material beyond the citation of the statute of conviction.

Moreover, it appears to be the practice in South Carolina courts for defendants to

execute sentencing sheets before a guilty plea is entered. See Morris v. State, 639

S.E.2d 53, 55 (S.C. 2006) (defendant “arrived at court and signed a sentencing sheet

in anticipation of entering a guilty plea…Petitioner subsequently left the

courthouse, and when his case was called, he could not be located.”). See also State

v. Nesbitt, 768 S.E.2d 67, 68-69 (S.C. 2015) (reciting facts of underlying case where

there was an additional sentencing sheet for a firearms charge that was not



digits.   State v. Bennett, 650 S.E.2d 490, 495 (S.C. Ct. App. 2007).
                                          12
    8:18-cr-00484-DCC      Date Filed 02/18/19    Entry Number 57     Page 13 of 14




reviewed by the district court prior to defendant’s departure from the courtroom,

and “[t]hus, although Appellant was never brought back into the courtroom to enter

a plea on the firearms charge, the circuit court nonetheless ‘accepted’ Appellant’s

plea in his absence and sentenced him to an additional five years’

imprisonment…”).

      Courts investigating a prior conviction under a modified categorical approach

may only rely on documents with “the conclusive significance of a prior judicial

record,” such as charging papers, written plea agreements, plea colloquy

transcripts, or “recorded judicial acts of that court limiting convictions to the

generic category,” Shepard, 544 U.S. at 20, to determine whether a defendant was

necessarily convicted of an offense with the same or narrower elements as a

“controlled substance offense.” In pleaded cases, these documents would be “the

statement of factual basis for the charge…shown by a transcript of plea colloquy or

by written plea agreement presented to the court, or by a record of comparable

findings of fact adopted by the defendant upon entering the plea…” Id.

      A defendant’s signature on a sheet which contains a clerk’s handwritten or

typed short-hand characterization of an offense, which may have been signed by a

defendant prior to an actual entry of plea, does nothing to narrow an overbroad

offense to establish that a defendant was necessarily convicted of an offense with

the same or narrower elements of a qualifying predicate offense. Therefore, a

sentencing sheet is not a Shepard document upon which this Court should rely.


                                           13
    8:18-cr-00484-DCC     Date Filed 02/18/19   Entry Number 57   Page 14 of 14




WHEREFORE, the defendant, Anthony Dante Holloway, respectfully submits that

his prior conviction for South Carolina Code Section 44-53-370 does not qualify as

“controlled substance offenses” under the Guidelines.



                                Respectfully submitted,

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February 18, 2019
Greenville, South Carolina




                                         14
